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11
12
                    IN THE UNITED STATES DISTRICT COURT
13
14              FOR THE SOUTHERN DISTRICT OF CALIFORNIA

15
16   KENNETH HOAGLAND,                        )
     individually and on behalf of others     )            '19CV0750
                                                  Case No. _ _ __ BAS_ JLB
17   similarly situated,                      )
18                                            )
                  Plaintiff,                  )   CLASS ACTION
19                                            )
20         v.                                 )
                                              )   JURY TRIAL DEMANDED
21   H&R BLOCK, INC. and AXOS                 )
22   BANK,                                    )

23                Defendants.
24
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27
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                                              1
                                 CLASS ACTION COMPLAINT
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                               CLASS ACTION COMPLAINT
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 1                            CLASS ACTION COMPLAINT
 2
           1.     Plaintiff Kenneth Hoagland brings this action against H&R Block, Inc.
 3
     ("H&R Block") and Axos Bank ("Axos"), collectively "Defendants," to secure
 4
 5   redres for their sending numerous nonconsensual autodialed text message calls to
 6
     the cellular telephone numbers of Plaintiff and others, in violation of the Telephone
 7
 8   Consumer Protection Act ("TCPA"), 47 U.S.C. § 227.

 9         2.     Defendants continued to send Plaintiff automated texts even after
10
     Plaintiff had requested several times that the texts stop.
11
12                                    INTRODUCTION

13         3.     Advancements in telephone dialing technology by the 1980s and 90s
14
     made reaching a large number of consumers by telephone easier and more cost-
15
16   effective. However, this technology also has brought with it an onslaught of

17   unsolicited robocalls, spam text messages, and junk faxes that intrude on individual
18
     privacy and waste consumer time and money. As a result, the federal government
19
20   and numerous states have enacted legislation to combat these widespread abuses.

21   See Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 371 (2012) (noting that federal




           4.     As is relevant here, the TCPA prohibits "mak[ing] any call (other than
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28
                                                3
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 1   a call made for emergency purposes or made with the prior express consent of the
 2
     called party) using any automatic telephone dialing system or an artificial or
 3
 4   prerecorded voice ... to any telephone number assigned to a ... cellular telephone

 5   service[.]" 47 U.S.C. § 227(b )(1 )(A)(iii).
 6
           5.     Text messages are "calls" under the TCPA. In re Rules & Regs.
 7
 8   Implementing the TCPA, 18 FCC Red. 14014, 14115 ,-r 165 (2003).

 9         6.     The TCPA provides for injunctive relief and the greater of actual
10
     damages or $500 per violation, which can be trebled where the statute was "willfully
11
12   or knowingly" violated. 47 U.S.C. § 227(b)(3).

13         7.     H&R Block and Axos Bank caused multiple, unsolicited, autodialed
14
     text message calls to be made to Plaintiffs cell phone, causing Plaintiff aggravation
15
16   and inconvenience. Plaintiff files this class action complaint on behalf of himself

17   and others similarly situated, seeking relief from these illegal calling practices.
18
                               JURISDICTION AND VENUE
19
20         8.     This Court has federal question subject matter jurisdiction over this

21   action pursuant to 28 U.S.C. § 1331 with respect to Plaintiffs TCPA claims. Mims,
22
     565 U.S. at 372.
23
24         9.     Additionally, the Court has subject matter jurisdiction pursuant to the

25   Class Action Fairness Act of 2005 ("CAFA"), 28 U.S.C. 1332(d)(2). The matter in
26
     controversy exceeds $5,000,000 in the aggregate, exclusive of interest and costs, as
27
28
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                                    CLASS ACTION COMPLAINT
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 1   each member of the proposed Class of at least tens of thousands is entitled to up to
 2
     $1,500 in statutory damages for each call that has violated the TCPA. Further,
 3
     Plaintiff alleges a nationwide class, which will result in at least one Class member
 4
 5   residing in a state different from Defendants.
 6
           10.    Venue is appropriate in this District under 28 U.S.C. § 139l(a) because
 7
     Axos is based here, and because a substantial portion of the events giving rise to this
 8
 9   cause of action occurred in this District.
10
                                           PARTIES
11
12         11.    Plaintiff Kenneth Hoagland is a natural person and a citizen of the State

13   of Kentucky, who resides in Jefferson County, Kentucky. At all relevant times,
14
     Plaintiff was the subscriber for the cellular telephone at issue.
15
16         12.    Defendant H&R Block, Inc. is a Missouri company headquartered at

17   One H&R Block Way, Kansas City, Missouri 64105 .
18
           13.    Defendant Axos Bank is a technology-driven financial services
19
20   company providing a diverse range of innovative banking products and services for

21   personal, business and institutional clients nationwide. Axos Bank is the bank behind
22
     H&R Block's branded prepaid credit cards, including the Emerald card. Axos is
23
24   headquartered in San Diego, California.

25                                          FACTS
26
            14.   H&R Block and/or Axos have sent multiple text message calls to
27
28
                                                  5
                                    CLASS ACTION COMPLAINT
      Case 3:19-cv-00750-BAS-JLB Document 1 Filed 04/23/19 PageID.6 Page 6 of 15




 1 Plaintiffs cellular telephone.
 2
           15.    The    text   messages      consisted    largely   of    account-related
 3
     communications, such as a customer survey, notifications about charges to the
 4
 5 person's H&R Block Emerald Card debit card, H&R Block appointment reminders,
 6
     and messages about the person's tax return and a refund advance loan.
 7
 8         16.    For example, H&R Block and Axos sent Plaintiff the following text

 9   message on February 2, 2019, from short code 71577:
10
                  HRBLOCK: Axos Bank(R) has approved your Refund
11                Advance loan for $500.00. Funds are being loaded to your
12                H&R Block Emerald Prepaid Mastercard(R).

13         17.    Defendants also sent Plaintiff numerous credit-related text messages
14
     from short code 58084 on February 7, _2019:
15
16                $11.28 charge was made to Emerald Card 1533. Avail bal
                  $1.26. Full access at hrblock.com/emeraldcard. Reply
17                STOP to Cancel.
18
           18.    H&R Block and/or Axos have sent Plaintiff more than fifty such text
19
20   messages.
21         19.    Plaintiff has no relationship with either H&R Block or Axos. Neither
22
     H&R Block nor Axos had Plaintiffs consent to receive these messages.
23
24         20.    Defendants knew they did not have consent to send these messages:

25   Plaintiff notified H&R Block that it was sending texts to the wrong person and
26
     requested that the texts stop multiple times, to no avail. Defendants kept sending him
27
28
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                                    CLASS ACTION COMPLAINT
      Case 3:19-cv-00750-BAS-JLB Document 1 Filed 04/23/19 PageID.7 Page 7 of 15




 1   text message calls.
 2
           21.    On information and belief, H&R Block and/or Axos logged Plaintiffs
 3
     wrong-number notifications/do-not-call requests in their systems, but kept sending
 4
 5   texts in spite of this. Alternatively, they should have logged the request, but failed
 6
     to do so.




12         23.    Defendants caused the text message calls at issue to be made using an

13   automatic telephone dialing system, as that term is used in the TCPA.
14
           24.    The equipment used to call Plaintiff and others not only had the
15
16   capacity to store or produce telephone numbers to be called using a random or

17   sequential number generator (and to dial such numbers), but was programmed to
18
     sequentially or randomly access stored telephone numbers to automatically call such
19
20   numbers when it made the text message calls to plaintiff and the class. These text

21   message calls were made with equipment capable of dialing numerous phone
22
     numbers in a short period of time without human intervention, as part of an
23
24   automated process.

25         25.    The equipment had the capacity to store or produce telephone numbers
26
     to be called using a random or sequential number generator, and to dial such
27
28
                                               7
                                   CLASS ACTION COMPLAINT
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 5   programmed to automatically decided what phone numbers to call when, and what
 6
     to say in the text messages.
 7
 8         26.    The autodialer accessed a dataset of Defendant, sorted through that

 9   dataset to determine which data to use to generate a list of numbers to call, generated
10
     a brand-new sequence for calling those numbers based upon complex algorithms,
11
12   and then called the numbers. The dialer randomly and sequentially generated phone

13   numbers for calling from a dataset, and then automatically called those numbers to
14
     send the text messages.
15




21   text messages, anyway.
22
           28.    This is not H&R Block's first time facing allegations of TCPA
23
24   violations. In 2007 H&R Block received an official citation from the FCC for

25   violating    the     TCPA's       prohibition     against     junk     faxing.    See
26
     https://docs.fcc.gov/public/attachments/DOC-303369Al .pdf.
27
28
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                                    CLASS ACTION COMPLAINT
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 1          29.   Upon information and belief, Defendants each keep records and data
 2
     from which they can determine which autodialed text message calls made without
 3
 4   consent.

 5         30.    Plaintiff and the class have been damaged by these text message calls.
 6
     Their privacy was improperly invaded, Defendant's text message calls temporarily
 7
 8 seized and trespassed upon the use of their phones, and they were forced to divert
 9 attention away from other activities to addre      the text message . Defendant s text
10
     messages were annoying and a nuisance, and wasted the time of Plaintiff and the
11
l2   class. See, e.g., Mims, 565 U.S. at 372 (discussing congressional findings of

13   consumer "outrage" as to autodialed calls).
14
                                   Class Action Allegations
15
16         31.    Plaintiff brings this action on behalf a class, defined as follows :

17         All non-customers in the United States whose cellular telephone
18         number, (a) H&R Block or Axos, or someone on either of their behalf,
           placed a text message, (b) using the same or similar system used to
19         place any text message call to Plaintiffs phone number.
20
           32.    Based upon the automated nature of the messages at issue, it is
21
22   reasonable to infer that Defendants placed thousands such messages in the four years

23   leading up to this case.
24
           33.    Common questions of law or fact exist as to all members of the class,
25
26   which predominate over any questions solely affecting any individual member,

27   including Plaintiff. Such questions common to the class include but are not limited
28
                                                9
                                   CLASS ACTION COMPLAINT
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 1   to:
 2
                  a. Whether the text messages identified herein were made using an
 3                   "automatic telephone dialing system" or an "artificial or prerecorded
                     voice" as such terms are defined or understood under the TCPA and
 4
                     applicable FCC regulations and orders;
 5
                  b. Whether Defendants had "prior express consent" to make the text
 6
                      message calls to non-customers, such as Plaintiff and the class; and
 7
 8                c. Damages, including whether any violations were performed
                     willfully or knowingly such that Plaintiff and the other members of
 9                   the class are entitled to treble damages under 47 U.S.C. §
10                   227(b)(3).

11         34.    Plaintiffs claims are typical of the claims of the other members of the
12
     class. The factual and legal bases of Defendants' liability to Plaintiff and the other
13
14   members of the class are the same: Defendants violated the TCPA by causing

15   autodialed text message calls to be made to the cellular telephone number of each
16
     member of the class, without permission.
17
18         35.    Plaintiff will fairly and adequately protect the interests of the class.

19   Plaintiff has no interests that might conflict with the interests of the class. Plaintiff
20
     is interested in pursuing his claims vigorously, and he has retained counsel
21
22   competent and experienced in class and complex litigation, including with regards

23   to the claims alleged herein.
24
           36.    Class action treatment is superior to the alternatives for the fair and
25
26   efficient adjudication of the controversy alleged herein. Such treatment will permit

27   a large number of similarly situated persons to prosecute their common claims in a
28
                                                10
                                     CLASS ACTION COMPLAINT
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 1   single forum simultaneously, efficiently, and without the duplication of effort and
 2
     expense that numerous individual actions would entail. There are, on information
 3
     and belief, thousands of class members, such that joinder of all members is
 4
 5   impracticable.
 6
           37.    No difficulties are likely to be encountered in the management of this
 7
     action that would preclude its maintenance as a class action, and no superior
 8
 9   alternative exi t for the fair and efficient adjudication of thi controver y.
10
           38.    Defendants have acted and failed to act on grounds generally applicable
11
12   to Plaintiff and the other members of the class, thereby making relief appropriate

13   with respect to the class as a whole. Prosecution of separate actions by individual
14
     members of the class, should they even realize that their rights have been violated,
15
16   would likely create the risk of inconsistent or varying adjudications with respect to

l7   individual members of the class that would establish incompatible standards of
18
     conduct.
19
20         39.    The identity of the class 1s, on information and belief, readily

21   identifiable from Defendants' records.
22
                                        COUNT I
23                      Violations of the TCPA, 47 U.S.C. § 227
24         (Autodialed and/or Artificial or Prerecorded Voice Call Violations)

25         40.    Plaintiff re-alleges and incorporates all foregoing allegations.
26
           41.    It is a violation of the TCPA to make "any call (other than a call made
27
28
                                               11
                                   CLASS ACTION COMPLAINT
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 1   for emergency purposes or made with the prior express consent of the called party)
 2
     using any automatic telephone dialing system or an artificial or prerecorded voice
 3
     ... to any telephone number assigned to a ... cellular telephone service .... " 47
 4
 5   U.S.C. § 227(b)(l)(A)(iii).
 6
           42.    A text message is a "call" under the TCPA. Satterfield v. Simon &
 7
 8   Schuster, Inc., 569 F.3d 946, 951 (9th Cir. 2009).

 9         43.    Defendants initiated or caused to be initiated text message calls to the
10
     cellular telephone numbers of Plaintiff and the other members of the class using an
11
12   automatic telephone dialing system or an artificial or prerecorded voice.

13         44.    These calls were made to non-customers who are persons who had not
14
     previously provided permission to receive texts from Defendants. Plaintiff and the
15
16   class members are non-customers.

17         45.    Defendants violated the TCPA when they made the calls alleged herein.
18
           46.    As a result of Defendants' conduct, and pursuant to Section 227(b)(3)
19
20   of the TCPA, Plaintiff and the other members of the class were harmed and are each

21   entitled to a minimum of $500 in damages for each violation.
22
           4 7.   Moreover, given the facts and circumstances here, including that H&R
23
24   Block has been cited by the FCC for TCPA violations before, it is apparent that

25   injunctive relief is necessary to wrench compliance. Plaintiff and the class therefore
26
     request an injunction against future automated calls to non-customers, pursuant to
27
28
                                               12
                                   CLASS ACTION COMPLAINT
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 1   47 U.S.C. § 227(b)(3).
 2
           48.    Because Defendants knew or should have known that neither Plaintiff
 3
     nor the class had given prior express consent to receive text messages to their cell
 4




11
12   2017) (trebling TCPA damages after $21Mjury verdict in favor of class).

13         WHEREFORE, Plaintiff Kenneth Hoagland, individually and on behalf of the
14
     class, respectfully requests that the Court enter judgment against each Defendant for:
15
16         A.     Certification of the class as alleged herein;

17         B.      A declaration that Defendants - and each of them - violated the TCPA
18   as to Plaintiff and the class;

19         c.    Injunctive relief aimed at preventing future automated calls to non-
20   customers' cell phones;

21         D.     Damages pursuant to 47 U.S.C. § 227(b)(3);
22
           E.     Costs, expenses, and attorneys' fees, to the extent permitted by law; and
23
24         F.     Such other or further relief as the Court deems just and proper.
     Ill
25
26   Ill
27   Ill
28
                                               13
                                   CLASS ACTION COMPLAINT
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                                         14
                               CLASS ACTION COMPLAINT
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 1                                     JURY DEMAND
 2
           Plaintiff requests a trial by jury of all claims that can be so tried.
 3
 4
     Dated: April 23, 2019                   Respectfully submitted,
 5
                                             KENNETH HOAGLAND, individually and
 6
                                             on behalf of others similarly situated,
 7
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                                             By:     /s/Kilev Grombacher
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                                    CLASS ACTION COMPLAINT
